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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

 JOSE ACEVEDO JR., individually and on
 behalf of all others similarly situated,
                                                  CASE NO. 2023-CV-003225
      Plaintiff,

 v.

 ILLINOIS DEPARTMENT OF
 INNOVATION AND TECHNOLOGY and
 PROGRESS SOFTWARE
 CORPORATION a/k/a PROGRESS,

      Defendants.


        NOTICE OF VOLUNTARY DISMISSAL AS TO DEFENDANT ILLINOIS
             DEPARTMENT OF INNOVATION AND TECHNOLOGY

       Plaintiff Jose Acevedo Jr. (“Plaintiff”), pursuant to Federal Rule of Civil Procedure

41(a)(1)A)(i), hereby dismisses all claims asserted in this action against Defendant Illinois

Department of Innovation and Technology as follows:

       1. All claims of Plaintiff Jose Acevedo Jr., individually, are dismissed without prejudice;

           and

       2. All claims of any unnamed member of the proposed class are dismissed without

           prejudice.

Each party shall bear their own fees and costs.

Dated: August 14, 2023
                                             Respectfully Submitted,

                                             By:/s/ Jeff Ostrow_____________
                                             Jeff Ostrow
                                             Kristen Lake Cardoso
                                             Steven Sukert
                                             KOPELOWITZ OSTROW
                                             FERGUSON WEISELBERG GILBERT

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                       and the Putative Class




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